Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 1 of 17 Page ID #:1




  1   Michael K. Friedland (SBN 157,217)
      michael.friedland@knobbe.com
  2   Lauren Keller Katzenellenbogen (SBN 223,370)
      lauren.katzenellenbogen@knobbe.com
  3   Ali S. Razai (SBN 246,922)
      ali.razai@knobbe.com
  4   James F. Smith (SBN 313,015)
      james.smith@knobbe.com
  5   KNOBBE, MARTENS, OLSON & BEAR, LLP
      2040 Main Street, Fourteenth Floor
  6   Irvine, CA 92614
      Telephone: (949) 760-0404
  7   Facsimile: (949) 760-9502
  8   Attorneys for Plaintiff
      OAKLEY, INC.
  9
 10
 11                   IN THE UNITED STATES DISTRICT COURT
 12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13
 14   OAKLEY, INC., a Washington               )   Civil Action No. 8:18-cv-00394
      corporation,                             )
 15                                            )
                   Plaintiff,                  )
 16                                            )   COMPLAINT FOR
            v.                                 )   PATENT INFRINGEMENT,
 17                                            )   TRADE DRESS
      SSAMECO, INC. d/b/a SINGSONG             )   INFRINGEMENT, FALSE
 18   AMECO, a California corporation,         )   DESIGNATION OF ORIGIN,
                                               )   AND UNFAIR COMPETITION
 19                Defendant.                  )
                                               )   DEMAND FOR JURY TRIAL
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 2 of 17 Page ID #:2




  1          Plaintiff Oakley, Inc. (“Oakley”) hereby complains of SSAMECO, INC.
  2   d/b/a SingSong Ameco (“Defendant”) and alleges as follows:
  3                            JURISDICTION AND VENUE
  4          1.     This Court has original subject matter jurisdiction over the claims
  5   in this action that relate to patent infringement, trade dress infringement, false
  6   designation of origin, and federal unfair competition pursuant to 35 U.S.C. §§
  7   271 and 281, 28 U.S.C. §§ 1331 and 1338, and 15 U.S.C. §§ 1116(a), 1121(a),
  8   and 1125(a), as these claims arise under the laws of the United States. The
  9   Court has supplemental jurisdiction over the claims in this Complaint which
 10   arise under state statutory and common law pursuant to 28 U.S.C. § 1367(a)
 11   because the state law claims are so related to the federal claims that they form
 12   part of the same case or controversy and derive from a common nucleus of
 13   operative facts.
 14          2.     This Court has personal jurisdiction over Defendant because
 15   Defendant has a continuous, systematic, and substantial presence within this
 16   judicial district including by selling and offering for sale infringing products in
 17   this judicial district, and by committing acts of patent and trade dress
 18   infringement in this judicial district, including but not limited to selling
 19   infringing eyewear directly to consumers and/or retailers in this district and
 20   selling into the stream of commerce knowing such products would be sold in
 21   California and this district, which acts form a substantial part of the events or
 22   omissions giving rise to Oakley’s claim.
 23          3.     Oakley is informed and believes, and thereon alleges, that venue is
 24   proper in this judicial district under 28 U.S.C. §§ 1391(b) and (d), and 1400(b)
 25   because Defendant is a resident in this judicial district, and Defendant has
 26   committed acts of infringement in this district and has a regular established
 27   place of business in this district.
 28   ///
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 3 of 17 Page ID #:3




  1                                   THE PARTIES
  2         4.     Oakley is a corporation organized and existing under the laws of
  3   the State of Washington, having its principal place of business at One Icon,
  4   Foothill Ranch, California 92610.
  5         5.     Oakley is informed and believes, and thereon alleges, that
  6   Defendant SSAMECO, Inc. d/b/a SingSong Ameco is a corporation organized
  7   and existing under the laws of the State of California, having its principal place
  8   of business at 401 S. Los Angeles Street #3, Los Angeles, California 90013.
  9                            GENERAL ALLEGATIONS
 10         6.     Oakley has been actively engaged in the manufacture and sale of
 11   high quality eyewear since at least 1985.      Oakley is the manufacturer and
 12   retailer of several lines of eyewear that have enjoyed substantial success and are
 13   protected by various intellectual property rights owned by Oakley.
 14         7.     On December 4, 2007, the United States Patent and Trademark
 15   Office (“U.S.P.T.O.”) duly and lawfully issued United States Design Patent No.
 16   D556,818 (“the D818 Patent”), titled “Eyeglass Components.” Oakley is the
 17   owner by assignment of all right, title, and interest in the D818 Patent. A true
 18   and correct copy of the D818 Patent is attached hereto as Exhibit 1.
 19         8.     On July 31, 2007, the USPTO duly and lawfully issued United
 20   States Design Patent No. D547,794 (“the D794 Patent”), titled “Eyeglasses.”
 21   Oakley is the owner by assignment of all right, title, and interest in the D794
 22   Patent. A true and correct copy of the D794 Patent is attached hereto as Exhibit
 23   2.
 24         9.     On November 6, 2007, the USPTO duly and lawfully issued United
 25   States Design Patent No. D554,689 (“the D689 Patent”), titled “Eyeglass
 26   Frame.” Oakley is the owner by assignment of all right, title, and interest in the
 27   D689 Patent. A true and correct copy of the D689 Patent is attached hereto as
 28   Exhibit 3.
                                             -2-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 4 of 17 Page ID #:4




  1         10.   Defendant manufactures, uses, sells, offers for sale, and/or imports
  2   into the United States eyewear that have infringed Oakley’s patent rights,
  3   including the D818 Patent, the D794 Patent, and the D689 Patent (collectively,
  4   the “Asserted Patents”).
  5         11.   Oakley manufactures and sells sunglasses under the mark
  6   HOLBROOK bearing distinctive trade dress in the overall design of the
  7   sunglasses (“HOLBROOK Trade Dress”). An example of an Oakley product
  8   bearing the distinctive HOLBROOK Trade Dress is depicted in the photograph
  9   attached as Exhibit 4.
 10         12.   As a result of Oakley’s widespread use and display of the
 11   HOLBROOK Trade Dress in association with its eyewear, (a) the public has
 12   come to recognize and identify eyewear bearing the HOLBROOK Trade Dress
 13   as emanating from Oakley, (b) the public recognizes that products bearing the
 14   HOLBROOK Trade Dress constitute high quality products that conform to the
 15   specifications created by Oakley, and (c) the HOLBROOK Trade Dress has
 16   established strong secondary meaning and extensive goodwill.
 17         13.   The HOLBROOK Trade Dress is not functional.             The design
 18   features embodied by the HOLBROOK Trade Dress are not essential to the
 19   function of the product, do not make the product cheaper or easier to
 20   manufacture, and do not affect the quality of the product. The design of the
 21   HOLBROOK Trade Dress is not a competitive necessity.
 22         14.   Subsequent to Oakley’s use and adoption of the HOLBROOK
 23   Trade Dress, Defendant has developed, manufactured, imported, advertised,
 24   and/or sold products that use trade dress that is confusingly similar to the
 25   HOLBROOK Trade Dress.
 26         15.   Defendant’s acts complained of herein have caused Oakley to
 27   suffer irreparable injury to its business.    Oakley will continue to suffer
 28   substantial loss and irreparable injury unless and until Defendant is enjoined
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 5 of 17 Page ID #:5




  1   from its wrongful actions complained of herein.
  2         16.    Oakley is informed and believes, and on that basis alleges, that
  3   Defendant’s acts complained of herein are willful and deliberate.
  4         17.    Defendant’s acts complained of herein have caused Oakley to
  5   suffer irreparable injury to its business. Oakley will suffer substantial loss of
  6   goodwill and reputation unless and until Defendant is preliminarily and
  7   permanently enjoined from its wrongful actions complained of herein.
  8                            FIRST CLAIM FOR RELIEF
  9                                  (Patent Infringement)
                                       (35 U.S.C. § 271)
 10
 11         18.    Oakley repeats and re-alleges the allegations of paragraphs 1-17 of
 12   this Complaint as if set forth fully herein.
 13         19.    This is a claim for patent infringement under 35 U.S.C. § 271.
 14         20.    Defendant, through its agents, employees, and/or servants has, and
 15   continues to, knowingly, intentionally, and willfully infringe the D818 Patent by
 16   making, using, selling, offering for sale, and/or importing eyewear having a
 17   design that would appear to an ordinary observer to be substantially similar to
 18   the claim of the D818 Patent, for example Defendant’s 7306ME sunglass model
 19   as shown below.
 20            Defendant’s 7306ME                       Oakley’s D818 Patent
                 Sunglass Model
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 6 of 17 Page ID #:6




  1         21.     Defendant’s acts of infringement of the D818 Patent were
  2   undertaken without permission or license from Oakley. Oakley is informed and
  3   believes, and thereon alleges, that Defendant had actual knowledge of Oakley’s
  4   rights in the design claimed in the D818 Patent. Oakley and its iconic designs
  5   are well-known throughout the eyewear industry, and Defendant’s 7306ME
  6   sunglass model is an identical copy of Oakley’s patented design. Accordingly,
  7   Defendant’s actions constitute willful and intentional infringement of the D818
  8   Patent.     Defendant infringed the D818 Patent with reckless disregard of
  9   Oakley’s patent rights. Defendant knew, or it was so obvious that Defendant
 10   should have known, that its actions constitute infringement of the D818 Patent.
 11   Defendant’s acts of infringement of the D818 Patent were not consistent with
 12   the standards of commerce for its industry.
 13         22.     Defendant, through its agents, employees, and/or servants has, and
 14   continues to, knowingly, intentionally, and willfully infringe the D794 Patent by
 15   making, using, selling, offering for sale, and/or importing eyewear having a
 16   design that would appear to an ordinary observer to be substantially similar to
 17   the claim of the D794 Patent, for example Defendant’s 7306ME sunglass model
 18   as shown below.
 19             Defendant’s 7306ME                     Oakley’s D794 Patent
                  Sunglass Model
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 26         23.     Defendant’s acts of infringement of the D794 Patent were
 27   undertaken without permission or license from Oakley. Oakley is informed and
 28   believes, and thereon alleges, that Defendant had actual knowledge of Oakley’s
                                             -5-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 7 of 17 Page ID #:7




  1   rights in the design claimed in the D794 Patent. Oakley and its iconic designs
  2   are well-known throughout the eyewear industry, and Defendant’s 7306ME
  3   sunglass model is an identical copy of Oakley’s patented design. Accordingly,
  4   Defendant’s actions constitute willful and intentional infringement of the D794
  5   Patent.     Defendant infringed the D794 Patent with reckless disregard of
  6   Oakley’s patent rights. Defendant knew, or it was so obvious that Defendant
  7   should have known, that its actions constitute infringement of the D794 Patent.
  8   Defendant’s acts of infringement of the D794 Patent were not consistent with
  9   the standards of commerce for its industry.
 10         24.     Defendant, through its agents, employees, and/or servants has, and
 11   continues to, knowingly, intentionally, and willfully infringe the D689 Patent by
 12   making, using, selling, offering for sale, and/or importing eyewear having a
 13   design that would appear to an ordinary observer to be substantially similar to
 14   the claim of the D689 Patent, for example, Defendant’s 7306ME sunglass
 15   model as shown below.
 16             Defendant’s 7306ME                     Oakley’s D689 Patent
                  Sunglass Model
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 23         25.     Defendant’s acts of infringement of the D689 Patent were
 24   undertaken without permission or license from Oakley. Oakley is informed and
 25   believes, and thereon alleges, that Defendant had actual knowledge of Oakley’s
 26   rights in the design claimed in the D689 Patent. Oakley and its iconic designs
 27   are well-known throughout the eyewear industry, and Defendant’s 7306ME
 28   sunglass model is an identical copy of Oakley’s patented design. Accordingly,
                                             -6-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 8 of 17 Page ID #:8




  1   Defendant’s actions constitute willful and intentional infringement of the D689
  2   Patent.     Defendant infringed the D689 Patent with reckless disregard of
  3   Oakley’s patent rights. Defendant knew, or it was so obvious that Defendant
  4   should have known, that its actions constitute infringement of the D689 Patent.
  5   Defendant’s acts of infringement of the D689 Patent were not consistent with
  6   the standards of commerce for its industry.
  7         26.     As a direct and proximate result of Defendant’s acts of
  8   infringement, Defendant has derived and received gains, profits, and advantages
  9   in an amount that is not presently known to Oakley.
 10         27.     Pursuant to 35 U.S.C. § 284, Oakley is entitled to damages for
 11   Defendant’s infringing acts and treble damages together with interests and costs
 12   as fixed by this Court.
 13         28.     Pursuant to 35 U.S.C. § 285, Oakley is entitled to reasonable
 14   attorneys’ fees for the necessity of bringing this claim.
 15         29.     Pursuant to 35 U.S.C. § 289, Oakley is entitled to Defendant’s total
 16   profits from Defendant’s infringement of the Asserted Patents.
 17         30.     Due to Defendant’s actions, constituting patent infringement,
 18   Oakley has suffered great and irreparable injury, for which Oakley has no
 19   adequate remedy at law.
 20         31.     Defendant will continue to infringe Oakley’s patent rights to the
 21   great and irreparable injury of Oakley, unless and until Defendant is enjoined by
 22   this Court.
 23                             SECOND CLAIM FOR RELIEF
 24                               (Trade Dress Infringement)
                                     (15 U.S.C. § 1125(a))
 25
 26         32.     Oakley repeats and re-alleges the allegations of paragraphs 1-17 of
 27   this Complaint as if set forth fully herein.
 28   ///
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 9 of 17 Page ID #:9




  1         33.    This is a claim for trade dress infringement under 15 U.S.C.
  2   § 1125(a).
  3         34.    Subsequent to Oakley’s use and adoption of the HOLBROOK
  4   Trade Dress, Defendant has developed, manufactured, imported, advertised,
  5   and/or sold products that use trade dress that is confusingly similar to the
  6   HOLBROOK Trade Dress.           As shown below, for example, Defendant’s
  7   9836ME/RV sunglass model, which are sold and/or offered for sale, for
  8   example, at Defendant’s 401 South Los Angeles Street, Suite 3, Los Angeles,
  9   California 90013 store location, use a trade dress that is confusingly similar to
 10   Oakley’s HOLBROOK Trade Dress.
 11         Defendant’s 9836ME/RV                      Oakley’s HOLBROOK
                Sunglass Model                              Trade Dress
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 19         35.    Defendant’s use of the HOLBROOK Trade Dress in connection
 20   with its sunglasses is likely to cause confusion, or to cause mistake, or to
 21   deceive as to the affiliation, connection, or association of Defendant with
 22   Oakley.
 23         36.    Oakley is informed and believes, and thereon alleges, that
 24   Defendant infringed Oakley’s trade dress rights with the intent to unfairly
 25   compete with Oakley, to trade upon Oakley’s reputation and goodwill by
 26   causing confusion and mistake among customers and the public, and to deceive
 27   the public into believing that Defendant’s products are associated with,
 28   sponsored by, originated from, or are approved by Oakley, when they are not,
                                             -8-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 10 of 17 Page ID #:10




   1   resulting in a loss of reputation in, and mischaracterization of, Oakley’s
   2   products and its brand, damaging its marketability and saleability.
   3         37.     Defendant’s    activities    constitute   willful   and   intentional
   4   infringement of Oakley’s trade dress rights in total disregard of Oakley’s
   5   proprietary rights, and were done despite Defendant’s knowledge that use of the
   6   HOLBROOK Trade Dress was and is in direct contravention of Oakley’s rights.
   7         38.     Oakley is informed and believes, and thereon alleges, that
   8   Defendant has derived and received, and will continue to derive and receive,
   9   gains, profits, and advantages from Defendant’s trade dress infringement in an
  10   amount that is not presently known to Oakley.           By reason of Defendant’s
  11   actions, constituting trade dress infringement, Oakley has been damaged and is
  12   entitled to monetary relief in an amount to be determined at trial.
  13         39.     Pursuant to 15 U.S.C. § 1117, Oakley is entitled to damages for
  14   Defendant’s infringing acts, up to three times actual damages as fixed by this
  15   Court, and its reasonable attorneys’ fees for the necessity of bringing this claim.
  16         40.     Due to Defendant’s actions, constituting trade dress infringement,
  17   Oakley has suffered great and irreparable injury, for which Oakley has no
  18   adequate remedy at law.
  19         41.     Defendant will continue to infringe Oakley’s trade dress rights to
  20   the great and irreparable injury of Oakley, unless and until Defendant is
  21   enjoined by this Court.
  22                             THIRD CLAIM FOR RELIEF
  23               (Federal Unfair Competition & False Designation of Origin)
                                     (15 U.S.C. § 1125(a))
  24
  25         42.     Oakley repeats and re-alleges the allegations of paragraphs 1-17
  26   and 32-41 of this Complaint as if set forth fully herein.
  27         43.     This is a claim for unfair competition and false designation of
  28   origin arising under 15 U.S.C. § 1125(a).
                                                 -9-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 11 of 17 Page ID #:11




   1         44.    Defendant’s use of the HOLBROOK Trade Dress without Oakley’s
   2   consent constitutes a false designation of origin, false or misleading description
   3   of fact, or false or misleading representation of fact, which is likely to cause
   4   confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
   5   association of such person with another person, or as to the origin, sponsorship,
   6   or approval of his or her goods or commercial activities by another person in
   7   violation of 15 U.S.C. § 1125(a).
   8         45.    Defendant’s use of the HOLBROOK Trade Dress without Oakley’s
   9   consent constitutes a false designation of origin, false or misleading description
  10   of fact, or false or misleading representation of fact, which in commercial
  11   advertising or promotion, misrepresents the nature, characteristics, qualities, or
  12   geographic origin of his or her or another person’s goods or commercial
  13   activities in violation of 15 U.S.C. § 1125(a).
  14         46.    Such conduct by Defendant is likely to confuse, mislead, and
  15   deceive Defendant’s customers, purchasers, and members of the public as to the
  16   origin of the HOLBROOK Trade Dress or cause said persons to believe that
  17   Defendant and/or its products have been sponsored, approved, authorized, or
  18   licensed by Oakley or are in some way affiliated or connected with Oakley, all
  19   in violation of 15 U.S.C. § 1125(a) and constitutes unfair competition with
  20   Oakley.
  21         47.    Oakley is informed and believes, and thereon alleges, that
  22   Defendant’s actions were undertaken willfully with full knowledge of the falsity
  23   of such designation of origin and false descriptions or representations.
  24         48.    Oakley is informed and believes, and thereon alleges, that
  25   Defendant has derived and received, and will continue to derive and receive,
  26   gains, profits, and advantages from Defendant’s false designation of origin, false
  27   or   misleading   statements,    descriptions     of   fact,   false   or   misleading
  28   representations of fact, and/or unfair competition in an amount that is not
                                              -10-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 12 of 17 Page ID #:12




   1   presently known to Oakley. By reason of Defendant’s actions, constituting false
   2   designation of origin, false or misleading statements, false or misleading
   3   descriptions of fact, false or misleading representations of fact, and/or unfair
   4   competition, Oakley has been damaged and is entitled to monetary relief in an
   5   amount to be determined at trial.
   6         49.    Pursuant to 15 U.S.C. § 1117, Oakley is entitled to damages for
   7   Defendant’s acts constituting false designation of origin, false or misleading
   8   statements, false or misleading descriptions of fact, false or misleading
   9   representations of fact, and/or unfair competition, up to three times actual
  10   damages as fixed by this Court, and its reasonable attorneys’ fees for the
  11   necessity of bringing this claim.
  12         50.    Due to Defendant’s actions, constituting false designation of origin,
  13   false or misleading statements, false or misleading description of fact, false or
  14   misleading representations of fact, and/or unfair competition, Oakley has
  15   suffered and continues to suffer great and irreparable injury, for which Oakley
  16   has no adequate remedy at law.
  17         51.    Defendant will continue its false designation of origin, false or
  18   misleading statements, false or misleading description of fact, false or
  19   misleading representations of fact, and unfair competition, unless and until
  20   Defendant is enjoined by this Court.
  21                           FIFTH CLAIM FOR RELIEF
  22                            (California Unfair Competition)
  23         52.    Oakley repeats and re-alleges the allegations of paragraphs 1-17
  24   and 32-51 of this Complaint as if set forth fully herein.
  25         53.    This is a claim for unfair competition, arising under California
  26   Business & Professions Code § 17200, et seq. and California common law.
  27         54.    Defendant’s acts of trade dress infringement and false designation
  28   of origin complained of herein constitute unfair competition with Oakley under
                                              -11-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 13 of 17 Page ID #:13




   1   the common law and statutory laws of the State of California, particularly
   2   California Business & Professions Code § 17200, et seq.
   3         55.    Oakley is informed and believes, and thereon alleges, that
   4   Defendant has derived and received, and will continue to derive and receive,
   5   gains, profits, and advantages from Defendant’s unfair competition in an
   6   amount that is not presently known to Oakley.          By reason of Defendant’s
   7   wrongful acts as alleged in this Complaint, Oakley has been damaged and is
   8   entitled to monetary relief in an amount to be determined at trial.
   9         56.    By its actions, Defendant has injured and violated the rights of
  10   Oakley and has irreparably injured Oakley, and such irreparable injury will
  11   continue unless Defendant is enjoined by this Court.
  12         WHEREFORE, Oakley prays for judgment in its favor against
  13   Defendant for the following relief:
  14         A.     An Order adjudging Defendant to have willfully infringed the
  15   Asserted Patents under 35 U.S.C. § 271;
  16         B.     A preliminary and permanent injunction enjoining Defendant, its
  17   respective officers, directors, agents, servants, employees, and attorneys, and
  18   those persons in active concert or participation with Defendant, from making,
  19   using, selling, offering to sell, and/or importing into the United States
  20   Defendant’s 7306ME sunglass model, as well as any products that are not
  21   colorably different therefrom;
  22         C.     A preliminary and permanent injunction enjoining Defendant, its
  23   respective officers, directors, agents, servants, employees, and attorneys, and
  24   those persons in active concert or participation with Defendant, from directly or
  25   indirectly infringing any of the Asserted Patents in violation of 35 U.S.C. § 271;
  26         D.     That Defendant account for all gains, profits, and advantages
  27   derived by Defendant’s infringement of the Asserted Patents in violation of
  28   35 U.S.C. § 271, and that Defendant pay to Oakley all damages suffered by
                                              -12-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 14 of 17 Page ID #:14




   1   Oakley and/or Defendant’s total profit from such infringement pursuant to 35
   2   U.S.C. § 284 and § 289;
   3         E.     An Order for a trebling of damages and/or exemplary damages
   4   because of Defendant’s willful conduct pursuant to 35 U.S.C. § 284;
   5         F.     That the Court find for Oakley and against Defendant on Oakley’s
   6   claims of trade dress infringement, false designation of origin, and unfair
   7   competition under 15 U.S.C. § 1125(a);
   8         G.     That the Court find for Oakley and against Defendant on Oakley’s
   9   claims of unfair competition under California Business & Professions Code
  10   § 17200, et seq. and California common law;
  11         H.     That the Court issue a preliminary and permanent injunction
  12   against Defendant, its agents, servants, employees, representatives, successors,
  13   and assigns, and all persons, firms, or corporations in active concert or
  14   participation with Defendant, enjoining them from engaging in the following
  15   activities and from assisting or inducing, directly or indirectly, others to engage
  16   in the following activities:
  17                1.     Manufacturing,      importing,     marketing,      displaying,
  18                       distributing, offering to sell, and/or selling Defendant’s
  19                       9836ME/RV sunglass model and any products that are not
  20                       colorably different therefrom;
  21                2.     using Oakley’s HOLBROOK Trade Dress, or any other trade
  22                       dress that is confusingly similar to Oakley’s HOLBROOK
  23                       Trade Dress;
  24                3.     falsely designating the origin of Defendant’s goods;
  25                4.     unfairly competing with Oakley in any manner whatsoever;
  26                5.     causing a likelihood of confusion or injuries to Oakley’s
  27                       business reputation; and,
  28   ///
                                              -13-
Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 15 of 17 Page ID #:15




   1                6.      manufacturing,      importing,        marketing,   displaying,
   2                        distributing, offering to sell, and/or selling any goods that
   3                        infringe Oakley’s HOLBROOK Trade Dress.
   4         I.     That an accounting be ordered to determine Defendant’s profits
   5   resulting from its trade dress infringement, false designation of origin, and
   6   unfair competition, and that Oakley be awarded monetary relief in an amount to
   7   be fixed by the Court in its discretion as it finds just as an equitable remedy and
   8   as a remedy under 15 U.S.C. § 1117, including:
   9                1.      all profits received by Defendant as a result of its infringing
  10                        actions, said amount to be trebled;
  11                2.      all damages sustained by Oakley as a result of Defendant’s
  12                        acts of trade dress infringement, unfair competition, and
  13                        false designation of origin, and that such damages be trebled;
  14                        and
  15                3.      punitive damages stemming from Defendant’s willful,
  16                        intentional, and malicious acts;
  17         J.     That such damages and profits be trebled and awarded to Oakley
  18   pursuant to 15 U.S.C. § 1117;
  19         K.     An Order adjudging that this is an exceptional case;
  20         L.     That, because of the exceptional nature of this case resulting from
  21   Defendant’s deliberate infringing actions, this Court award to Oakley all
  22   reasonable attorneys’ fees, costs, and disbursements incurred as a result of this
  23   action, pursuant to 15 U.S.C. § 1117 and/or 35 U.S.C. § 285;
  24         M.     That Oakley recover exemplary damages pursuant to California
  25   Civil Code § 3294;
  26         N.     An award of pre-judgment and post-judgment interest and costs of
  27   this action against Defendant; and,
  28   ///
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 16 of 17 Page ID #:16




   1         O.    Such other and further relief as this Court may deem just and
   2   proper.
   3
   4                                 Respectfully submitted,
   5                                 KNOBBE, MARTENS, OLSON & BEAR, LLP
   6
   7   Dated: March 12, 2018         By:/s/Lauren Keller Katzenellenbogen
                                       Michael K. Friedland
   8                                   Lauren Keller Katzenellenbogen
                                       Ali S. Razai
   9                                   James F. Smith
  10                                 Attorneys for Plaintiff OAKLEY, INC.
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Case 8:18-cv-00394-JVS-KES Document 1 Filed 03/12/18 Page 17 of 17 Page ID #:17




   1                              DEMAND FOR JURY TRIAL
   2              Plaintiff Oakley, Inc. hereby demands a trial by jury on all issues so
   3   triable.
   4                                      Respectfully submitted,
   5                                      KNOBBE, MARTENS, OLSON & BEAR, LLP
   6
   7   Dated: March 12, 2018              By:/s/ Lauren Keller Katzenellenbogen
                                            Michael K. Friedland
   8                                        Lauren Keller Katzenellenbogen
                                            Ali S. Razai
   9                                        James F. Smith
  10                                      Attorneys for Plaintiff OAKLEY, INC.
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